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16                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
17
     CLARISSA HARRIS, on Behalf of Herself )
18                                         ) Case No. 3:19-cv-00598-RCJ-CLB______
     and on Behalf of All Others Similarly )
19   Situated,                             )
                                           )
20         Plaintiff(s),                   ) STIPULATION TO CONTINUE
                                           ) RULE 16 CASE MANAGEMENT
21   v.                                    ) CONFERENCE
                                           )
22   DIAMOND DOLLS OF NEVADA, LLC ) SECOND REQUEST
                                           )
23   dba the SPICE HOUSE, KAMY             )
     KESHMIRI, JAMY KESHMIRI               )
24                                         )
                  Defendants.              )
25                                         )
                                           )
26
           Plaintiff Clarissa Harris, on behalf of herself and on behalf of all others similarly situated,
27
28   and Defendants Diamond Dolls of Nevada, LLC dba Spice House, Kamy Keshmiri, Jamy Kesmiri
     Case 3:19-cv-00598-RCJ-CLB Document 32 Filed 03/16/20 Page 2 of 4




 1   (“Defendants”) (collectively “Parties”) hereby request and stipulate to Continue the Rule 16 Case
 2   Management Conference set for March 25, 2020 at 9:30 AM in Reno Courtroom 1 before
 3
     Magistrate Judge Carla Baldwin. Parties make this request pursuant to LR IA 6-1. The Parties
 4
     request that the Rule 16 Case Management Conference shall be continued 60 days. This is the
 5
 6   second request to Continue the Case Management Conference.

 7          This request and stipulation is made in good faith and not for the purposes of undue burden
 8   or delay. Defendants filed a Motion to Dismiss and Request to Strike on November 12, 2019
 9
     arguing, among other reasons, that the Complaint had not met the standard to plead and prove
10
     “willfulness” under the Fair Labor Standards Act. (Doc. No. 14). The Parties first requested to
11
12   continue the management conference schedule for January 24, 2020 because Plaintiff intended to

13   file an Unopposed Amended Complaint to cure any pleading defect in the Original Complaint.
14   However, because of the recent order from the Court (Doc. No. 31) denying Defendants’ Motion
15
     to Dismiss and Request to Strike (Doc. No. 14), Plaintiff will not be filing an Amended Complaint
16
     since the Court determined Plaintiff sufficiently pled her case. While the Parties waited on the
17
18   Court’s ruling, they engaged in and continue to engage in informal negotiations of a potential

19   resolution of the present case. The Parties request that the Rule 16 Case Management Conference
20   shall be continued 60 days in order to allow negotiations to continue.
21
            Postponing this deadline will prevent waste of judicial resources, minimize attorney’s fees,
22
     and increase the likelihood that the Parties are able to reach a compromise and resolve the case.
23
24   IT IS SO STIPULATED.

25   Dated: March 16, 2020                                Dated: March 16, 2020
26    /s/ David W. Hodges                                /s/ Mark R. Thierman
27    David W. Hodges (admitted pro hac                  Mark R. Thierman
      vice)                                              Thierman Buck, LLP
28                                                       State of Michigan Bar # P70495



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                                        IT IS SO ORDERED:
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19
                                        _________________________________________
20                                      UNITED STATED MAGISTRATE JUDGE,
21
22                                      DATED: ____________________________

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 1                                  CERTIFICATE OF SERVICE
 2      I certify that this document was served on all parties on March 16, 2020 via the Court's
 3   CM/ECF system.

 4                                                /s/ David W. Hodges
                                                    David W. Hodges
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